Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 1 of 21 PagelD #:21

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

PAMELA BRAY,
Plaintiff,
v.

CITY OF CHICAGO, a municipal
corporation

Defendant.

EASTERN DIVISION
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) AUG 2 6 2002
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NOTICE OF FILING ie g

To: Lara A. Walicek

Ernest T. Rossiello & Associates, P.C.
300 West Washington Street, Suite 1004

Chicago, Illinois 60606

PLEASE TAKE NOTICE that I have this day filed with the Clerk of the United States
Distnct Court for the Norther District of Illinois, Eastern Division, Defendant City of Chicago’s
Motion for Summary Judgment, a copy of which is attached.

DATED at Chicago, Illinois, this 23rd day of August, 2002.

30 N. LaSalle Street
Suite 1020

Chicago, Illinois 60602
(312) 744-4746/5002

Respectfully submitted,

MARA 8. GEORGES
Corporation Counsel of the
City of Chicago

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Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 2 of 21 PagelD #:22

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PAMELA BRAY, )
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Defendant. )

DEFENDANT CITY OF CHICAGO’S MOTION FOR SUMMARY JUDGMENT

Defendant City of Chicago (“City”), by its attorney, Mara S. Georges, Corporation
Counsel of the City, hereby moves this honorable Court, pursuant to Federal Rule of Civil
Procedure 56, for entry of Summary Judgment.

1. Plaintiff Pamela D. Bray filed her complaint in federal court on October 9, 2001.

2. The defendant is the City.

3, Plaintiff alleges in her complaint that while employed as a probationary police
officer (“PPO”) for the Chicago Police Department (“CPD”), she was sexually harassed by her
direct supervisor and then retaliated against when she was terminated in violation of Title VII of
the Civil Rights Act, 42 U.S.C. 2000e-2(a)(1) and 2000e-3(a), respectively.

4, While her complaint specifies sexual harassment by one alleged direct supervisor,
in her deposition, plaintiff alleged sexual harassment by two police officers -- one female (Donna
Adams) and one male (Bruce Askew) -- who served as Field Training Officers (“FTOs”) for
some of her field training cycles.

5. Summary judgment for the City on plaintiff's sexual harassment claim is
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Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 3 of 21 PagelD #:23

appropriate because neither Adams nor Askew are supervisors within the meaning of Title VII.
Also, neither of their behavior was sufficiently severe or pervasive to constitute objective or
subjective sexual harassment for Title VII purposes. Moreover, even if their conduct were
actionable, the City would not be liable. Plaintiff admits that she complained pursuant to the
City’s anti-harassment policy only after she was terminated and that the conduct had stopped
even before a Field Training Review Board convened to review her performance. Then, she
refused to cooperate with the City’s investigation of her complaint.

6. Plaintiff also brings a claim of retaliation based on her termination under Title

VIL

7. Summary judginent is appropriate for the City on plaintiff's claim of retaliation
because plaintiff cannot establish the first element because she admits that she did not complain
of the harassment under the City’s sexual harassment policy to a supervising officer until after
her discharge. As to the second and third elements, plaintiff cannot establish that she was
performing her job according to the City’s legitimate expectations because she admittedly
cheated on tests and quizzes and failed two tests at the police academy; she failed two of her field
training cycles, received low marks for the others; each of her FTOs commented on her lack of
assertiveness; she remained in the squad car while her partner was arresting a “big” and “stocky”
man; and her productivity was low after she finished her training cycles so much so that she only
made one (1) arrest, recovered one (1) vehicle, wrote eight (8) parking tickets and made three (3)
Chicago Transit checks over 20 working days, the equivalent of an average officer’s daily
activity. Finally, plaintiff cannot establish the fourth element of her prima facie case, because the

record is void of evidence that plaintiff was treated less favorably than similarly situated

 
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Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 4 of 21 PagelD #:24

probationary police officers who did not engage in statutorily protected activity.

8. Even if plaintiff were to succeed in proving her prima facie case, her retaliation
claim cannot survive summary judgment because the City has established that it had a legitimate
business reason for terminating plaintiff -- she performed poorly and acted in a manner
inconsistent with officer safety — and she cannot proffer evidence of pretext. In fact, there is no
evidence the decision-makers were aware of plaintiff's alleged protected activity until well-after
they terminated plaintiff's employment.

9. In support of this motion, the City submits a statement of undisputed facts as to
which there is no genuine issue and a memorandum of law pursuant to Local Rule 56.

WHEREFORE, defendant City of Chicago respectfully requests this Court to grant

Summary Judgment in it favor and against plaintiff Pamela D. Bray on her entire complaint.

Respectfully submitted,

MARA S. GEORGES
Corporation Counsel of the
City of Chicago

“By:

 

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Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 5 of 21 PagelD #:25

CERTIFICATE OF SERVICE
I hereby certify that I have caused to be mailed a true and correct copy of the attached
Defendant City of Chicago’s Motion for Summary Judgment to the attorney at the address
indicated below on this 23" day of August 2002.
To: Lara A. Walicek
Ernest T. Rossiello & Associates, P.C. ™
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300 West Washington Street, Suite 100
Chicago, Illinois 60606 \

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IN THE UNITED STATES DISTRICT COURT DOCKETED
FOR THE NORTHERN DISTRICT OF [ILLINOIS

EASTERN DIVISION AUG 26 2002
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Defendant. )

DEFENDANT CITY OF CHICAGO’S MEMORANDUM OF LAW
IN SUPPORT OF IT MOTION FOR SUMMARY JUDGMENT

Defendant City of Chicago (“City”), by its attorney, Mara S. Georges, Corporation
Counsel of the City, submits this memorandum of law in support of its motion for summary
judgment on plaintiff Pamela Bray’s complaint and incorporates by reference herein the City’s
Local Rule 56.1(a) Statement of Undisputed Material Facts.

INTRODUCTION

On October 24, 2000, the City terminated Bray’s employment as a probationary police
officer with the Chicago Police Department for substandard performance. Def. Rule 56.1(a)
Stmt. | 74-81, 85-89. Her deficiencies included unsafe actions such as rematming in her squad
car when she should have been assisting her partner with the arrest of a “big, stocky” suspect.
Def. Rule 56.1(a) Stmt. ff] 58-59, 81-87.

Now, in her Federal Complaint, Bray alleges that she was “inappropriately sexually
harassed” in violation of 42 U.S.C. 2000e-2(a)(1) by her direct “super-visor [sic].” Compl. 4 6.
She also alleges that after “complaining of the gender-based hostile work environment alleged,
defendant failed... to take prompt, effective and appropriate corrective action to eradicate the
unlawful conduct; more particularly defendant materially altered the terms, conditions and

privileges of plaintiff's employment.” Compl. 7. She further alleges that the City then
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 7 of 21 PagelD #:27

retaliated against her in violation of 42 U.S.C. 2000e-3(a) by discharging her. Compl. 4/7. Bray
makes these allegations despite admitting that she never reported any sexual harassment pursuant
to the City’s anti-harassment policy during her employment. Def. Rule 56.1(a) Stmt. § 105.

While her complaint and EEOC charge specifies sexual harassment by one alleged direct
supervisor, in her deposition, plaintiff alleged sexual harassment by two police officers -- one
female (Donna Adams) and one male (Bruce Askew) -- who served as Field Training Officers
(‘“FTOs”) for some of her field training cycles. Neither Adams nor Askew are supervisors
within the meaning of Title VII. Also, neither of their behavior was sufficiently severe or

pervasive to constitute objective or subjective sexual harassment for Title VII purposes.

Moreover, even if their conduct were actionable, the City would. not be liable. Bray admits that
she complained pursuant to the City’s anti-harassment policy only after she was terminated and
that the conduct had stopped even before the Field Training Review Board had convened to
review her performance. Def. Rule 56.1(a) Stmt. Jf] 103, 105. Then she refused to cooperate
with the City’s investigation of her complaint. Def. Rule 56.1(a) Stmt. {J 121-25.

Pursuant to Rule 56(c) of the Federal Rules of Civil Procedure, the City moves for
summary judgment on plaintiff's Complaint in its entirety.

ARGUMENT

I. BRAY CANNOT PROCEED WITH HER SEXUAL HARASSMENT CLAIM
BECAUSE SHE CANNOT ESTABLISH THAT SHE WAS SUBJECTED TO
ACTIONABLE CONDUCT IN VIOLATION OF TITLE VII

To establish a prima facie case of hostile environment sexual harassment, a plaintiff must
demonstrate that: ‘(1) she was subjected to unwelcome sexual harassment in the form of sexual
advances, requests for sexual favors or other verbal or physical conduct of a sexual nature; 2) the
harassment was based on [the individual’s] sex; 3) the sexual harassment had the effect of
unreasonably interfering with the plaintiff's work performance in creating an intimidating, hostile

or offensive working environment that affected seriously the psychological well-being of the

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 8 of 21 PagelD #:28

plaintiff; and 4) there is a basis for employer’s liability.” Parkins v, Civil Constr. of III. Inc., 163
F.3d 1027, 1032 (7" Cir. 1998).

A. The Alleged Behavior Does Not Arise to the Level of Actionable Sexual
Harassment

Title VIT only protects against workplace discrimination that is based on sex, race or
some other protected status; it is not a “general civility code designed to purge the workplace of
all boorish or even all harassing conduct.” Berry v. Delta Airlines, Inc., 260 F.3d 803, 808 (7"
Cir. 2001). "[TJhe occasional vulgar banter, tinged with sexual innuendo of coarse or boorish
workers" generally does not create a work environment that a reasonable person would find

intolerable. Baskerville v. Culligan Int’1Co., 50 F.3d 428, 430 (7" Cir. 1995).

The hostile work environment must be both objectively and subjectively offensive, “one
that a reasonable person would find hostile or abusive, and one that the victim in fact did
perceive to be so.” Faragher v. City of Boca Raton, 524 U.S. 775, 787 (1998). Factors that must
be considered in determining if a hostile environment was created include, “frequency of the
discriminatory conduct; its severity; whether it is physically threatening or humiliating, or a mere
offensive utterance; and whether it unreasonably interferes with an employee’s work
performance.” Id. at 787-88.

1. Adams’ alleged comments were not objectively or subjectively offensive

Bray’s sexual harassment allegations against Adams are limited to verbal comments that
fall far short of constituting sexual harassment cognizable under Title VIL. Bray admits that
Adams never threatened or intimidated her. Def. Rule 56.1(a) Stmt. 118. The alleged
comments largely consist of discussions of Adams’ alleged “dorninatrix” activities and
suggestions that plaintiff should “sleep with men for money” and amount, at most, to vulgar
banter. See Def. Rule 56.1(a} Stmt. J] 107-12, 114, 117.

As to Adams’ comments that Bray walked “too feminine” [sic] and suggestions that Bray
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 9 of 21 PagelD #:29

should look “more in contro?’ while on duty (Def. Rule 56.1(a) Stmt. J 115-16), they are
entirely void of any sexual reference and no reasonable jury could find they contributed to a
hostile working environment. Cf, Faragher, 524 U.S. at 787-88; Baskerville, 50 F.3d at 430-31.

Even in cases involving more offensive comments and ones lustful of the plaintiff, the
alleged actions were not sufficiently severe or pervasive to create a hostile working environment.
See Gleason v. Mesirow Financial Inc., 118 F.3d 1134 (1997) (employee’s allegations that
manager told employee he spent weekend at nudist camp, told employee he dreamt of holding
her hand, commented on co-worker’s anatomy, referred to female customers as “bitchy” or
“dumb,” and appeared to be ogling other female employees were insufficient to support hostile
environment claim); Bevilacqua v. Cubby Bear Lid., No. 98 C 7568, 2000 WL 152135 at *6
(N.D. Ill. Feb. 4, 2000) (frequent and vulgar comments and questions about plaintiff's sexual
activities with her boyfriend and other men insufficient to create a hostile environment) (attached
hereto); Spencer v. Commonwealth Edison Co., No. 97 C 7718, 1999 WL 14486, *8-10 (N.D.
[ll. Jan. 6, 1999) (finding that crude comments, sexually explicit t-shirts, graffiti, horseplay and
derogatory jokes about women did not create a hostile environment) (attached hereto). Thus,
Adams’ alleged actions did not create an objectively hostile work environment.

Indeed, the Supreme Court has “emphasized . . . the objective severity of harassment
should be judged from the perspective of a reasonable person in the plaintiff's position,
considering ‘all the circumstances.’”” Oncale v. Sundowner Offshore Serv. Inc., 523 U.S. 75, 81

(1998) (quoting Harris, 114 S. Ct. at 371). “Common sense, anc! an appropriate sensitivity to

 

social context, will enable courts and juries to distinguish between simple teasing or
roughhousing arnong members of the same sex, and conduct which a reasonable person in the
plaintiff's position would find severely hostile or abusive.” Qncale, 523 U.S. at 81. A review of

Bray’s allegations of Adams’ alleged comments from an objective perspective show that these

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 10 of 21 PagelD #:30

comments were at most tacky bantering rather than severely hostile or abusive remarks. See
Def. Rule 56.1(a) Stmt. [f 107- 118.

Moreover, there is no evidence that Adams’ alleged cornments and actions related to her
alleged “dominatrix” activities, such as allegedly buying pallets for a dominatrix cage, were
“because of [plaintiff's] sex” as required to establish actionable sexual harassment. See Oncale,
118 S. Ct. at 1002. “‘The critical issue, Title VII’s text indicates, is whether members of one sex
are exposed to disadvantageous terms or conditions of employrient to which members of the
other sex are not exposed.’” Id. at 1002 (quoting Harris, 510 U.S. at 25) (Ginsburg, J.,
concurring). There is no evidence that was the case here. To the contrary, plaintiff herself
testified that Adams discussed her alleged dominatrix activities with males, including enlisting
male officers to allegedly help carry pallets to assemble for a dominatrix cage. Def. Rule 56.1(a)
Stmt. 112. Likewise, there is no evidence that Adams’ comments were motivated by general

hostility to the presence of women in the workplace. See Oncaile, {18 S. Ct. at 1002. Thus, Bray

 

cannot establish a genuine issue of material fact that Adams’ conduct was actionable sexual
harassment.

Regardless of the objective severity, the record is clear that plaintiff herself did not find
Adams’ behavior offensive. See Faragher, 524 U.S. at 787. Throughout her employment,
plaintiff concedes that she did not even believe that Adams was sexually harassing her. Def.
Rule 56.1(a) Stmt. J] 106, 118. Bray also admitted that she never told Adams to stop making
such comments. Def. Rule 56.1(a} Stmt. { 118. Further precluding any inference that Bray
found Adams’ behavior subjectively offensive is the fact that Bray requested to work with
Adams for her fourth remedial cycle of field training. Def. Rule 56.1(a) Stmt. 4 51.

2. Askew’s_alleged behavior also was not sufficiently severe or pervasive

While Askew was Bray’s FTO, she alleges he made several comments that constituted

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 11 of 21 PagelD #:31

sexual harassment. Yet, these puerile comments do not rise to the level of harassment under
Title VII. See Baskerville, 50 F.3d 482.

* While patrolling, Askew allegedly brought Bray to a lot and stated that “when he was a
teenager, he used to come to [the lot] to have sex, and that other officers would come
there while on duty.” And then he commented that “[Bray] might end up back there.”
Def. Rule 56 Stmt. J 93.

* Askew took Bray to a location where he said they “find dead bodies back there” and
then allegedly stated that two sergeants “got caught” there “performing oral sex[].” Def.
Rule 56 Stmt. 4 94.

* Allegedly “cracked jokes” about Bray’s fertility, saying Bray “better not get too close to
you because you might get pregnant, after he found out she had five children.” Def. Rule
56 Stmt. 95. These comments usually happened in the parking lot with other people
present. Id.

Askew also asked her to come with her children to the movie theater where he worked a second
job. Def. Rule 56 Stmt. { 96. However, the fact that Askew asked her to come with her
children precludes sexual innuendo as does the fact that he also invited his other co-workers to
come to the movies because he could get them in free. Id.

Bray alleges additional instances of sexual harassment by Askew after he was no longer
her FTO and when even plaintiff admits she no longer considered him to be her supervisor. Def.
Rule 56 Stmt. | 97. The few other comments alleged to have occurred after the training cycle,
such as “anyway, you’re too young to be thinking about marriage, you should go out and fuck
everybody,” were mild and far from being objectively offensive. Def. Rule 56 Stmt. 499. See
Faragher, 524 U.S. at 787-88. Bray also alleges that Askew told another officer not to type up a
to/from letter requesting plaintiff work with that officer because “we're already spoon feeding
her now” and then he said “you [Bray] already owe me some anyway.” Def. Rule 56 Stmt. {
103. Bray “took” this to be a ‘‘sexual” reference, but there is no evidence that it was meant in
that context.

The only other conduct that occurred while Askew was no longer her FTO was an alleged

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 12 of 21 PagelD #:32

_ brief touching of Bray’s ankle area on one occasion, an alleged bear hug in a revolving door at a
crowded court house that same day, and a brief touching of her bullet proof vest over her breast
on three occasions. Def. Rule 56 Stmt. {| 97-98, 100-102. Each of these instances lasted only
one second and at least one or more persons were present. Def. Rule 56 Stmt. 4] 100-102.
Taken together, Askew’s behavior, including these instances, is insufficient to create an
objectively hostile work environment under Seventh Circuit standards. See Minor y. Ivy Tech
State Coll, 174 F.3d 855, 858 (7" Cir. 1999) (putting arms around plaintiff, kissing and
squeezing her, and saying “Now is this sexual harassment?” did not constitute sexual harassment,
notwithstanding supervisor’s prior acts, including calling employee frequently and talking to
employee in a “sexy voice’); Adusumilli v. City of Chicago, 164 F.3d 353, 361 (7" Cir. 1998)
(sporadic touching, inappropriate remarks and jokes insufficient to create a hostile work
environment); Saxton v. American Tel. & Tel. Co., 10 F.3d 526, 533-34 (7" Cir. 1993) (two
occasions of male supervisor rubbing his hand along female emplovee’s upper thigh and kissing
her did not create a hostile work environment); Weiss v. Coca-Cola Bottling Co., 990 F.2d 333,
337 (7" Cir. 1993) (numerous occasions of supervisor asking plaintiff for dates, calling her a
dumb blond and putting hands on her shoulder as well as attempt to kiss the plaintiff at a bar and
attempts to kiss her tn her office and placement of an “I love you” si gn in her work area did not
amount to actionable sexual harassment); Lindblom v. Challenger Day Program, Ltd., 37 F.
Supp.2d 1109, 114-15 (N.D. IL, 1999) (fondling plaintiff at a private party, touching her knee
five times, touching her shoulder ten times, standing too close, staring at her and questioning her
about her weekend was not actionable sexual harassment); Adusumilli v. Illinois Institute of
Technology, Case No. 97 C 8507, 1998 WL. 601822 (N.D. IIL. Sept. 9, 1998) (granting motion to
dismiss where body and breast allegedly touched) (attached hereio). In the present case, the
touching of Bray’s body armor over her breast area and over four-layers of other clothing is not
offensive because, in plaintiff's own words, the vest is “like a metal coverage” and about an inch

think. Def. Rule 56 Stmt. 4 101. It is made of a stiff, dense nylon material that deadens

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 13 of 21 PagelD #:33

sensation beneath it. Def. Rule 56 Stmt. | 101. Accordingly, the touching of her body armor
over her breasts is distinct from direct contact with the breast. Further, the circumstances (e.g.,
that it lasted one second each time, others were present and, with the vest incidents, it was
obvious Bray had her vest on as it was her outer layer) clarify thiat this was not a sexual overture,
but at most a puerile prank. See Minor, 174 F.3d at 858 (context relevant). Thus, even if Bray’s
allegations are taken as true, she cannot establish a genuine issue of material fact that Askew’s
alleged conduct was objectively offensive. See Baskerville, 50 F.3d at 430.

Regardless, the evidence belies that Bray found Askew’s behavior subjectively offensive
because on more than one occasion she requested and/or accepted Askew’s assistance even after
he was no longer her FTO and even after the alleged touching began. For instance, on or about
September 19, 2000, plaintiff requested that Askew attend felony court with her (where he
allegedly touched her leg near her ankle and her ankle and alleged|y later jumped into the
revolving door with her) and, after that, on October 4, 2000, she accepted Askew’s assistance
with an arrest. Def. Rule 56.1(a) Stmt. 97, 102. Further, it was not until October 4, 2000 that
she allegedly told Askew that she would report his conduct and then only if he touched her again.
Def. Rule 56 Stmt. § 103. And she admits that once she said that, Askew never touched her
again. Def. Rule 56 Stmt. fj 103-04. Thus, plaintiff has failed to establish Askew’s conduct
was actionable under Title VII.

Since the conduct of which plaintiff complains created neither an objectively or
subjectively hostile work environment, the City is entitled to summary judgment on plaintiff's
sexual harassment claim.

B. The City Is Not Liable for the Alleged Sexual Harassment

Even if plaintiff were able to establish the first three elements of the prima facie case for
Title VII sexual harassment, the City is entitled to summary judyment because Bray is unable to

establish the fourth element, that the City is liable for the alleged! conduct. See Parkins, 163 F.3d

 

at 132.

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 14 of 21 PagelD #:34

1. Plaintiff cannot establish that the City was_ negligent

“An employer’s liability for hostile environment sexual] harassment hinges on whether
the harasser is the victim’s supervisor or merely a co-employee.” Hall v. Bodine Elec. Co., 276
F.3d 345, 355 (7" Cir. 2002). Neither of the officers who allegedly harassed plaintiff were
plaintiff's “supervisor” as that term has been defined under Title VII. See, e.g., Hall, 276 F.3d at
355. “(T]he essence of supervisory status is the authority to affect the terms and conditions of
the victim’s employment. This authority primarily consists of the power to hire, fire, demote,
promote, transfer, or discipline an employee.” Hall, 276 F.3d at 355 (citing Parkins v. Civil
Constr. of IH. Inc., 163 F.3d 1027, 1034 (7" Cir. 1998)), “Absent an entrustment of at least
some of this authority, an employee does not qualify as a supervisor for purposes [of] imputing
liability to an employer.” Id. (holding that the alleged harasser who directed the plaintiff's
work, provided input into her performance evaluations and was charged with training her, was
not a supervisor under Title VII; authority to oversee and authority to discipline is not enough to
establish supervisory status). See also Parkins, 163 F.3d 1027 (plaintiff's harassers, while
foremen, were not supervisors because they were “laborers” who lacked the authority to make
final decisions with respect to hiring and firing).

Here, it is undisputed that Askew or Adams have no authority to hire, fire, demote,
promote, transfer or even discipline an employee (Def. Rule 56 Stmt. ff] 18, 25), and therefore,
are not “supervisors” for Title VII purposes. Besides, even low level supervisors with authority
to oversee and discipline are not supervisors for Title VII purposes. See Durkin v. City of
Chicago, 199 F. Supp.2d 836, 947-48 (N.D. Ill. 2002) (citing Hall, 276 F.3d 355 (citing cases)).
In Durkin, the court held that Chicago police academy instructors were not supervisors for Title
VII purposes. Id. Likewise, neither Askew nor Adams were supervisors for Title VII purposes
because FTOs do not have final decision-making authority. See id. Even plaintiff concedes that

they were not supervisors when they were not serving as her FTOs and that Askew was not her
» Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 15 of 21 PagelD #:35

supervisor when the alleged touching occurred.’ Def. Rule 56 Stint. 7] 97-98, 100-102.

To establish hability for the actions of co-workers, Bray must demonstrate that the City
was “negligent either in discovering or remedying the harassment.” Hall, 276 F.3d at 356. She
can do neither. The CPD has a detailed sexual harassment policy (the “Policy”) that was
disseminated to all employees, including Bray. Def. Rule 56.1{a) Stmt. 4] 10, 13-22. While at
the Chicago police academy, Bray received training on the policy and on her responsibility to
report any infraction of it. Def. Rule 56.1(a) Stmt.49 13-22. Yet, she admitted that she did not
report the alleged harassment to a supervising officer, as required under the Policy, until after her
termination.” Def. Rule 56.1(a) Stmt. 105. The City cannot be held liable for actions
occurring before Bray reported the alleged conduct, especially since her delay was inexcusable.
See Gawley v. indiana. Univ., 276 F.3d 301, 312 & n.7 (7" Cir. 2001).

Once Bray did make a complaint, the City opened an investigation. Def. Rule 56.1 (a)
Stmt.Jf 121-129. Yet Bray refused to discuss her complaint with the City’s investigator. Def.
Rule 56.1(a) Stmt.{] 121-125, 129. Her rebuff is inexcusable, especially in hight of the fact that
she then discussed her allegations with the media. Def. Rule 56.1(a) Stmt. { 130. Nevertheless,
after investigating her claim, including interviewing those persons that it could identify, it was
determined that plaintiffs allegations were unfounded. Def. Rule 56.1(a) Stmt.ff 121-129. “As
a matter of law it is not unreasonable for an employer to drop its investigation on the grounds
that the allegations could not be supported because the plaintiff failed to make a statement.”
Durkin, 849 F. Supp.2d at 849 (citing Perry v, Harris Chernin, Inc., 126 F.3d 1010, 1014-15 (7"

Cir. 1997)). Thus, Bray cannot show any genuine issue of material facts regarding whether the

 

'The only sexually harassing behavior plaintiff alleges occurred when Askew and Adams
served as her FTOs were verbal comments. See supra pp. 3-6.

“In fact, plaintiff admits that she told the EEOC that she did not report the conduct to
even another police officer, i.c., a non-supervising officer, until the day before her termination.
Def. Rule 56.1(a) Stmt. | 105.

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Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 16 of 21 PagelD #:36

City was negligent in preventing or correcting the harassment.

Significantly, regardless of the outcome of the Investigation, as soon as Bray told Askew
that she would report him if he touched her again, his alleged conduct stopped. Def. Rule 56.1(a)
Stmt. of Facts 1103. With Adams, once Bray did not attend her parties, the alleged conduct
stopped as well. Def. Rule 56.1(a) Stmt. of Facts ] 110. In short, the City is entitled to
summary judgment because it cannot be held negligent for the alleged harassment as it
appropriately investigated and responded to it. In fact, by the time the conduct had been
reported, it had ended.

2. Even if Askew and Adams were supervisors. the City has established its
affirmative defense

Even if this Court construes the alleged harassers to be Bray's supervisors as defined
under Title VII, the City is then entitled to establish the affirmative defense that is available
under Ellerth and Faragher because Bray was not subjected to a tangible employment action
undertaken by the harassing supervisor. Ellerth, 524 U.S. at 765; Faragher, 524 U.S. at 807-08,

As an initial matter, plaintiff's complaint does not even allege that her discharge was due
to sexual harassment. Compl. { 6-7. So, plaintiff cannot now urgue that the alleged sexual
harassment resulted in a tangible employment action. See Hill v. American Gen. Fin., Inc., 218
F.3d 639, 643 (7" Cir. 2000). Even if the analysis did not end there, the affirmative defense
applies because plaintiff's termination did not result from either of Askew or Adams’ alleged
harassment “in the way that Ellerth and Faragher contemplate.” Johnson v. West, 218 F.3d 725,
731 (7" Cir. 2000). “An employer is vicariously liable for tangible employment actions
undertaken by the harassing supervisor.” Id, (citing Faragher, 524 U.S. at 808). In Johnson, the
court held that the employer was not vicariously liable for a tangible employment action even
though the supervisor-harasser reported plaintiffs conduct which resulted in her discharge to
higher-ups, since his superiors investigated his complaint and resolved it though the appropriate

administrative channels. Id. See also Silk v. City of Chicago, 194 F.3d 788, 806 n. 17 (7" Cir.

11

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 17 of 21 PagelD #:37

1999) (holding employer not vicariously liable for tangible employment action even though
supervisor submitted complaint of plaintiffs violation of regulitions where employment action
was taken through the appropriate administrative channels).

The affirmative defense provides that an employer can «void liability when the employer
demonstrates that: (1) it exercised reasonable care to prevent and correct promptly any sexuaily
harassing behavior, and (2) the employee unreasonably failed to take advantage of any preventive
or corrective opportunities provided by the employer to avoid harm. Faragher, 524 U.S. at 807-
08. The City has established both prongs.

Under the first prong, the City has established that it exercised reasonable care to prevent
and correct promptly any sexually harassing conduct. The CPD has a detailed sexual harassment
policy that was disseminated to all employees, including Bray. Def. Rule 56.1{a) Stmt. {J 10,
13-22. While at the academy, plaintiff received training on this policy and on her responsibility
to report any infraction of the policy. Def. Rule 56.1(a) Stmt. 44] 13-22. As discussed above,
Bray failed to make a report as contemplated by the policy at ary time during her employment.
See supra.

Under the second prong, Bray unreasonably failed to take advantage of any corrective or
preventive measures available to her and failed to cooperate with the City’s investigation.

In Faragher, the Supreme Court explained the rationale for this prong: “The requirement to show
that the employee has failed in a coordinate duty to avoid or mitigate harm reflects an equally
obvious policy imported from the general theory of damages, that a victim has a duty ‘to use such
means as are reasonable under the circumstances to avoid or minimize the damages’ that result
from violations of the statute.” 524 U.S. at 806-07 (internal citations omitted). Accordingly, an
employee who alleges that she was sexually harassed by a supervisor must utilize the

mechanisms her employer has in place in addressing complaints of sexual harassment. Murray v.
Chicago Transit Auth., 252 F.3d 880, 889 (7" Cir. 2001). As discussed above, Bray did not
report the alleged harassment until after it had stopped. Def. Rule 56.1(a} Stmt.f] 103, 105.

12

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 18 of 21 PagelD #:38

The City opened an investigation, but, despite the City’s repeated attempts, Bray refused to
cooperate. Def. Rule 56.1(a) Stmt.] 121-28. Thus, the City has established its affirmative

defense and summary judgment should be granted in its favor cn this claim.

II. BRAY CANNOT RAISE A GENUINE ISSUE OF FACT AS TO WHETHER THE
CITY RETALIATED AGAINST HER

To demonstrate that her employer retaliated against her in violation of Title VII, an
employee may present either direct or indirect evidence of the employer's retaliatory intent.
Lacking any direct evidence of retaliation, Bray must attempt to satisfy her burden through the
indirect method of proof. Under this method, Bray must first present evidence sufficient to
establish a prima facie case by showing that “after lodging a complaint about discnmination . . .
only [s]he, and not any similarly situated employee who did not file a charge, was subjected to an
adverse employment action even though [sfhe was performing I:[er] job in a satisfactory
manner.” Stone v. City of Indianapolis Pub. Util. Div., 281 F.3d 640, 642-44 (7" Cir. 2002).
Specifically, she must show that: “(1) she engaged in statutorily protected activity; (2) she
performed her job according to her employer's legitimate expeciations; (3) despite meeting her
employer's legitimate expectations, she suffered a materially adverse employment action; and (4)
she was treated less favorably than similarly situated employees who did not engage in statutorily
protected activity.” Hilt-Dyson v. City of Chicago, 282 F.3d 456, 465 (7" Cir. 2002); see Stone,
281 F.3d at 642-44. Bray’s failure to satisfy the any of the elements of a prima facie case dooms
her retaliation claim.’ Hilt-Dyson, 282 F.3d at 465.

Bray cannot establish the first element because she admits that she did not complain of
the harassment under the Policy to a supervising officer until after her discharge. Def. Rule

56.1(a) Stmt.§ 105.

 

*Defendant reserves the right to contest all elements if the case proceeds beyond summary
judgment.

13
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 19 of 21 PagelD #:39

As to the second element, Bray carinot establish that she was performing her job
according to the City’s legitimate expectations. The evidence is to the contrary. She admittedly
cheated on tests and quizzes at the academy. Def. Rule 56.1{a} Stmt.ff 6-7, 11-12. She failed
two of her field training cycles, including one where Renee Daniels, who was not subject to
plaintiff's harassment allegations, was her FTO, and received low marks for the others. Def.
Rule 56.1(a) Stmt.f] 29-66. In addition, each of her FTOs commented on her Jack of
assertiveness. See Def. Rule 56.1(a) Stmt.4§ 34, 36, 40, 44, 45. 47, 55-56. Plaintiff herself
conceded some performance issues when she requested a remeclial cycle. Def. Rule 56.1(a) Stmt.
{1 48, 50. Plaintiff also admitted the underlying conduct that constituted some of her most
egregious performance deficiencies, including that she remained in the car while her partner was
arresting a man whom she described as “big” and “stocky.” Def. Rule 56.1{a) Stmt.f] 60-64, 70-
72. Further, her productivity was low after she finished her training cycles so much so that she
only made one (1) arrest, recovered one (1) vehicle, wrote eight (8) parking tickets and made
three (3) Chicago Transit checks over 20 working days, the equivalent of an average officer’s
daily activity. Def. Rule 56.1(a) Stmt.4 79. Consequently, she also cannot prove the third
element as she cannot show that an adverse action was taken despite mecting her employer’s
legitimate expectations.

As to the fourth element of her prima facie case, the record is also void of evidence that
plaintiff was treated less favorably than similarly situated probationary police officers who did
not engage in statutorily protected activity. See Hilt-Dyson, 282 F.3d at 465. In fact, plaintiff
has not identified a single similarly situated employee who was treated more favorably.

Even if Bray were to succeed in proving her prima facie case, her retaliation claim cannot
survive summary judgment because the City has established that it had a legitimate business
reason for terminating Bray -- she performed poorly and acted i a manner inconsistent with

Stone, 281 F.3d at 642-44; Aviles v. Comell Forge Co., 241 F.3d 589, 592 (7" Cir. 2001).

14

 
Case: 1:01-cv-07770 Document #: 11 Filed: 08/23/02 Page 20 of 21 PagelD #:40

“Establishing pretext requires more than excusing the employer’s stated reason for its
decision, the plaintiff must call the employer’s honesty into question by rebutting the reason
stated.” Sweeney v. West, 149 F.3d $50, 557 (7" Cir, 1998). Plaintiffs excuses, such as
personality conflicts, inadequate training or problems getting the car door open so she could not
backup her partner while he was arresting a suspect (Def. Rule 56. (a) Stmt.] 62, 70-72), do not
establish pretext. See Stewart v. Henerson, 207 F.3d 374, 378 (7 Cir. 2000). She must show
“that there was a discriminatory motive that more likely than not motivated the employer, or that
the employer’s proffered explanation ts unworthy of credence.” Rabinovitz v. Pena, 89 F.3d 482,
487 (7" Cir. 1996). She cannot do so. After all, it is undisputed that the decision-makers in her
termination decision, and even the members of the Field Training Review Board that
recommended her termination, had no knowledge of any protected speech. Def. Rule 56. I{a)
Stmt. J 73, 82-83, 89, 91. Thus, Bray cannot proceed to trial with her retaliation claim.

CONCLUSION

For all of the foregoing reasons, as well as those set forth in the accompanying motion for
summary judgment and supporting papers, the City respectfully requests that summary judgment
be entered in its favor and against Bray and that this Court dismiss this case with prejudice.

Respectfully submitted,

MARA 8. GEORGES
‘Viklie. Counsel of the City of Chicago

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